             Case 2:20-cv-00966-NR Document 161 Filed 07/22/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DONALD J. TRUMP FOR                                  Civil Action
 PRESIDENT, INC.; et al.,

                Plaintiffs,
                                                      No. 2:20-CV-00966
        v.

 KATHY BOOCKVAR; et al.,

                Defendants.                           Judge J. Nicholas Ranjan


       MOTION FOR ADMISSION PRO HAC VICE OF ELIZA SWEREN-BECKER

       Eliza Sweren-Becker, undersigned counsel for Proposed Defendant-Intervenors

Citizens for Pennsylvania’s Future and the Sierra Club, hereby moves that she be admitted to

appear and practice in this Court in the above-captioned matter as counsel pro hac vice for

Proposed Defendant-Intervenors Citizens for Pennsylvania’s Future and the Sierra Club

pursuant to LCvR 83.2(B).

       In support of this motion, undersigned counsel attaches the Affidavit for Admission Pro

Hac Vice of Eliza Sweren-Becker filed herewith, which, it is averred, satisfies the requirements

of the foregoing Local Rules and Standing Order.

Dated: July 22, 2020                         Respectfully submitted,

                                              /s/ Eliza Sweren-Becker
                                              Eliza Sweren-Becker (N.Y. Bar No. 5424403)
                                              Brennan Center for Justice
                                              at NYU School of Law
                                              120 Broadway, Suite 1750
                                              New York, NY 10271
                                              eliza.sweren-becker@nyu.edu
                                              Phone: (646) 292-8319
                                              Fax: (212) 463-7308

                                              Counsel for Proposed Defendant-
                                              Intervenors Citizens for Pennsylvania’s
                                              Future and the Sierra Club
